                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr272



UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
ELIZABETH WHITE (2)                      )
________________________________________ )



       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on retroactive amendments to the United States Sentencing Guidelines relating

to crack cocaine offenses. (Doc. No. 46).

       The defendant pled guilty to conspiracy to possess at least 50 grams of cocaine base with

intent to distribute. (Doc. No. 43: Judgment at 1). At sentencing, the Court determined that the

amount of crack cocaine reasonably foreseeable to the defendant was at least 9.185 kilograms.

(Doc. No. 44: Statement of Reasons (SOR) at 1; Presentence Report (PSR) at ¶ 27). The offense

level for that amount of drugs was 38. The offense level under the amended guidelines for that

amount of drugs remains 38. USSG Supp. to Appx. C., Amend. 706 (2007). Accordingly, the

guideline range for the defendant’s offense has not been lowered and she is not eligible for a

sentence reduction under 18 U.S.C. § 3582(c). USSG §1B1.10(a).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




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       The Clerk is directed to certify copies of this Order to the defendant, counsel for the

defendant, the Community Defender, the United States Attorney, the United States Marshals

Service, and the United States Probation Office.

                                                   Signed: August 27, 2008




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